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 2   Lexi Negin, D.C. Bar #446153
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS SOTO-FARIAS
 6
 7                                 IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        )   CASE NO. CR-S-07-497 (LKK)
10                                                    )
                            Plaintiff,                )
11                                                    )   STIPULATION AND ORDER TO CONTINUE
             v.                                       )   STATUS HEARING AND TO EXCLUDE TIME
12                                                    )   PURSUANT TO THE SPEEDY TRIAL ACT
                                                      )
13   JESUS SOTO-FARIAS                                )
     NICHOLAS MARTINEZ-FERNANDEZ                      )   JUDGE: Lawrence K. Karlton
14                                                    )
                                                      )
15                                                    )
                       Defendants.                    )
16   _______________________________                  )
17          This case is currently scheduled for a status hearing on February 12, 2008. The attorneys for all
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for February 12, 2008, be continued until March 4, 2008. In addition, the parties
22   stipulate that the time period from February 12, 2008, to March 4, 2008, be excluded under the Speedy
23   Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide defense counsel
24   with the reasonable time to prepare.
25          A proposed order is attached and lodged separately for the court's convenience.
26
27
28                                                        1
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 1
 2
     DATED:February 11, 2008
 3
 4                       Respectfully submitted,
 5   McGREGOR W. SCOTT                             DANIEL BRODERICK
     United States Attorney                        Federal Defender
 6
 7
     /s/Lexi Negin for Michael Beckwith                    /s/ Lexi Negin
 8   MICHAEL BECKWITH                              LEXI NEGIN
     Assistant U.S. Attorney                       Assistant Federal Defender
 9   Attorney for United States                    Attorney for Jesus Saloman-Mundo
10
11   /s/ Lexi Negin for John Manning
     JOHN MANNING
12   Attorney for Nicolas Martinez-Fernandez
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                 Case 2:07-cr-00497-LKK Document 36 Filed 02/11/08 Page 3 of 3


 1                                 IN THE UNITED STATES DISTRICT COURT
 2                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-07-497 LKK
 4                                                   )
                           Plaintiff,                )
 5                                                   )
            v.                                       )
 6                                                   )   ORDER CONTINUING STATUS HEARING
                                                     )   AND EXCLUDING TIME PURSUANT TO THE
 7   JESUS SOTO-FARIAS                               )   SPEEDY TRIAL ACT
     NICHOLAS MARTINEZ-FERNANDEZ                     )
 8                                                   )
                                                     )
 9                                                   )
                       Defendants.                   )
10   _______________________________                 )
11
            For the reasons set forth in the stipulation of the parties, filed on February 11, 2008, IT IS
12
     HEREBY ORDERED that the status conference currently scheduled for February 12, 2008, be vacated
13
     and that the case be set for March 4, 2008 at 9:30 a.m. The Court finds that the ends of justice to be served
14
     by granting a continuance outweigh the best interests of the public and the defendant in a speedy trial.
15
     Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ February 11, 2008
16
     stipulation, the time under the Speedy Trial Act is excluded from February 12, 2008, through March 4,
17
     2008, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense
18
     counsel with the reasonable time to prepare.
19
20
     Dated: February 11, 2008
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28                                                         2
